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                                IN THE UNITED STATES DISTRICT COURT

                                 FOR THE EASTERN DISTRICT OF TEXAS

                                                LUFKIN DIVISION

 RAMIRO CANALES                                              §

 VS.                                                         §           CIVIL ACTION NO. 1:20-CV-77

 DEMETRIA EDISON, et al.,                                    §


                        MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                           JUDGE’S REPORT AND RECOMMENDATION
          Plaintiff, Ramiro Canales, an inmate currently confined at the Connally Unit with the Texas

 Department of Criminal Justice, Correctional Institutions Division, proceeding pro se and in forma

 pauperis, filed this civil rights action pursuant to 42 U.S.C. § 1983 against Defendants Demetria

 Edison, Daniel J. Quesenberry,1 Duyean Bui, Annuncia Wright and Michelle Spruell-Smith.

          The court referred this matter to the Honorable Christine Stetson, United States

 Magistrate Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders

 of this court.2 The Magistrate Judge recommends denying Plaintiff’s Motion for Preliminary

 Injunction as moot (Doc. # 87).

          The court has received and considered the Report and Recommendation of United States

 Magistrate Judge filed pursuant to such order, along with the record, and pleadings. No objections

 to the Report and Recommendation of United States Magistrate Judge have been filed to date. 3




          1
              Plaintiff misspelled Defendant Quesenberry’s name as Questenberry.
          2
        The case was initially referred to United Magistrate Judge Keith Giblin who issued the Report and
 Recommendation. On September 15, 2021, the case was referred to Magistrate Judge Christine Stetson (Doc. # 101).
          3
           Plaintiff received a copy of the Report and Recommendation on February 19, 2021 (Doc. # 88). Plaintiff filed
 a Motion for Extension of Time to File Objections on March 1, 2021 (Doc. # 89). The Motion was granted on March
 3, 2021 (Doc. # 91). The only Objections filed by Plaintiff relate to an Order denying Plaintiff’s Motion for Summons
 (Doc. # 92) and another Report and Recommendation entered March 2, 2021 (Doc. # 97).
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                                              ORDER

        Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct,

 and the report of the magistrate judge is ADOPTED.

       SIGNED this the 6 day of October, 2021.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge




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